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Joanne Hayo

   

 

 

 

 

220 Vo'orhis Ave h 7 1 5 "'i
New Milford, NJ 07646 `_r
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`BY ' ~.... " '
UNITED STATES_ DISTRI_\CT COURT
SOUTHERN DISTRICT OF CALIFORNIA
JOANNE HAYO, Trl_lstee for the CASE NO. 13-CV-02990-BEN-JMA
Frederick Palumbo leing Trust, '
_ _ NOTICE OF VOLUNTARY
PIalntlff, DISMISSAL WITH PREJUDICE
vS.
PORTFOLIO RECOVERY
ASSOCIATES,
Defendant.

 

 

 

 

HAYO V. PORTFOLIO RECOVERY ASSOCIATES CASE NO. l3-CV-02990-BEN-JMA)
NOTICE OF VOLUNTARY DISMISSAL WITH PRE UDICE

 

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NOTICE IS HEREBY GIVEN that Joanne Hayo, Trustee ofFrederick Palurnbo’ S
Living Trust, and Substituted plaintiff herein, pursuant to F ed R. Civ. Pro. 4l(a)(1),

hereby voluntarily dismisses the above-captioned action With prejudice

DATED:' law 11,201513;/©@@-.~€ \*\@~\314)

Joa‘n'ne Hayo

 

 

 

 

 

HAYO V. PORTFOLIO RECOVERY ASSOCIATES ESCASE NO. l3-CV-02990-BEN-JMA)
NOTICE OF VOLUNTARY DISMISSAL WITH PR EUDICE 1

 

 

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PROOF OF SERVICE
I, the undersigned, declare:

I am over the age of eighteen years and am the substituted plaintiff in this
action. My address is 220 Voorhis Ave, New Milford, New Jersey 07646.

I arn readily familiar With the collection and processing of correspondence
by mailing With the United States Postal Service and that said correspondence is
deposited With the United States Postal Service that Sarne day in the ordinary
course of business.

On this date, I served a copy of the following document:
1) NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

by causing such document to be placed in a sealed envelope for collection
and delivery by the United States Postal Service to the addressee indicated beloW:

VIA U.S. MAIL

Liana Mayilyan

Sirnrnonds & Narita LLP

44 Montgomery Street, Suite 3010
San Francisco, CA 94104
Counselfor Defendam

' I declare under penalty of perjury under the laws of the State of NeW Jersey
that the foregoing is true and correct. Executed atrlw wl\H~J/, New Jersey on this

Lday of .QL;MG.\¥, 2015.
Czsa_,a flaw .
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Joanne Hayo

 

 

